                            Case 1:08-cr-00047-MBC Document 73 Filed 01/20/10 Page 1 of 6
'li!t,AO 2458   (Rev. 06/05) Judgment in a Criminal Case
                Sheet 1



                                           UNITED STATES DISTRICT COlTRT 

                            Western                               District of                               Pennsylvania
            UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                V.
                RASHAD LEE WILLIAMS                                       Case Number:                     1:08-cr-00047-001 Erie

                                                                          USMNumber:                       20588-068

                                                                          David A. Schroeder, Esquire
                                                                          Defendant's Attorney
THE DEFENDANT: 

X pleaded guilty to count(s)          1 and 2. 


D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty. 


The defendant is adjudicated guilty of these offenses: 


Title & Section               Nature of Offense                                                         Offense Ended            Count
21 U.S.C. §846                Conspiracy to possess with intent to distribute and distribution of         2/22/2007                1
                              five (5) grams or more of cocaine base, a Schedule II controlled
                              substance.
21 U.S.C. §§84l (a)(1)        Possession with intent to distribute and distribution of five (5)           2/20/2007                2
and 841 (b)( 1)(B)(iii)       grams or more of cocaine base, a Schedule II controlled
18 U.S.C. §2                  substance.
       The defendant is sentenced as provided in pages 2 through       _......::..6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                        D are dismissed on the motion of the United States.
                ------------------------- D is
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges In economic circumstances.

                                                                          January 19,2010
                                                                          Date ofImposition of Judgment



                                                                          Signature of Judge




                                                                          Maurice B. Cohill, Jr" United States District Judge
                                                                          Name and Title of Judge
                            Case 1:08-cr-00047-MBC Document 73 Filed 01/20/10 Page 2 of 6
AO 245B       (Rev, 06/05) Judgment in Criminal Case
              Sheet 2 Imprisonment
                                                                                                    Judgment - Page _.::..-_ of   6
DEFENDA~T:                       RASHAD LEE WILLIAMS
CASE NUMBER:                     1:08-cr-00047-001 Erie


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

one hundred twenty (120) months. The term of imprisonment consists of 120 months at each of Counts 1 and 2 of Criminal
No. 08-00047-001 Erie, and a term of 120 months at Count 1 of Criminal No. 08-00048 Erie, all such terms to be served
concurrently and with credit for time served.


     JtThe court makes the following recommendations to the Bureau of Prisons:                        ,g
           ~~~.UAI""V-1IoA ~ Ii' t.J....i...,IfO'.,
           ~ r        . H.t r I~' e u.. f #-'I It...... /4....., y..,..,u .. ,,,,,.,
           ~ ~ ...... ~~ /J.Co~··'· \
     X The defendant is remanded to the custody of the United States Ma~'                  lS'"
     OThe defendant shall surrender to the United States Marshal for this district:

          o     at
                      ----------------- o              a.m.     o   p.m.     on

          o     as notified by the United States Marshal.

     OThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o     before 2 p.m. on

          o     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at   ___________________________ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
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             (Rev. 06/05) Judgment   a Criminal Case            Document 73 Filed 01/20/10 Page 3 of 6
             Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _   ....
                                                                                                                              3_    of         6
DEFENDANT:                   RASHAD LEE WILLIAMS
CASE NUMBER:                 1:08-cr-0004 7-001 Erie
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

four (4) years. This term consists offour (4) years of supervised release at each of Counts 1 and 2 of Criminal No. 08-00047-001 Erie, and
five (5) years of supervised release at Count I of Criminal No. 08-00048 Erie, all such terms to be run concurrently.


      Within 72 hours ofrelease from the custody of the Bureau of Prisons, the defendant shall report in person to the Probation Office in the
district to which the defendant is released.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
X 	 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
X 	 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o 	 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer; 

  2)      the defendant shall report to the probation officer and shaH submit a truthful and complete written report within the first five days of 

          each month;
  3)      the defendant shalI answer truthfully alI inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          Sheet 3A     Supervised Release
                                                                                            Judgment-Page _.;;I..4_ of    6
DEFENDANT:              RASHAD LEE WILLIAMS
CASE NUMBER:            1:08-cr-00047-001 Erie

                               ADDITIONAL SUPERVISED RELEASE TERMS 


The defendant shall participate in a program of testing, and if necessary, treatment for substance abuse, as directed by the
probation officer, until such time as the defendant is released from the program by the probation officer. Further, the
oefendant shall be re<Juired to contribute to the costs of services for any such treatment not to exceed an amount detennined
by the Probation Officer, but not to exceed the actual cost. The defendant shall submit to one drug urinalysis within 15 days
after being placed on supervision and at least two periodic tests thereafter.
The defendant shall obtain his General Equivalency Development Diploma.
The defendant shall pay to the United States a special assessment of $200.00, which shall be paid forthwith to the Clerk, U.S.
District Court for the Western District of Pennsylvania.
The Court finds that the defendant does not have the ability to pay a fine. Fine in this case is waived.
Upon the imposition of sentence, the defendant was advised of his right of appeal and his right to counsel on appeal.




These conditions are in addition to any other conditions imposed by this Judgment.
Upon finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision, (2)
extend the tenn of supervision, and/or (3) modify the conditions of supervision.
All of the conditions listed in this order have been read to me. I fully understand the conditions and have been provided a
copy of them.



Defendant's Signature                          Date



U.S. Probation Officer's Signature             Date
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          Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page ___5,,--_ of       6
DEFENDANT:                      RASHAD LEE WILLIAMS
CASE NUMBER:                    1:08-cr-00047-001 Erie
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                                                                  Restitution
TOTALS           $ 200.00                                            $                                     $



01                The determination of restitution is deferred               An Amended Judgment in a Criminal Case (AO 245C) will be
     after such determination.

o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                              Total Loss*                            Restitution Ordered                   Priority or Percental!e




TOTALS                           $                            o               $______________            ~O_




D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o    the interest requirement is waived for the      0   fine       0     restitution.

      D the interest requirement for the      0    fine           restitution is modified as follows:



• Findings for the total amountoflosses are required under Chapters 109A, 110, II OA, and 113A ofTitIe 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.
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           Sheet 6 Schedule of Payments
                                                                                                        Judgment- Page _,.:;:,6_ of         6
DEFENDANT:                 RASHAD LEE WILLIAMS
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                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of $200.00                    special assessment due immediately, payable to the Clerk, United States
           District Court for the Western District of Pennsylvania.
           o    not later than 	                              , or
           o     in accordance      0 C, 0 D, 0                 E, or 0 F below; or

B    0	    Payment to begin immediately (may be combined with           0   C,      o D, or     0 F below); or
c    0     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                    over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0 	 Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0 	 Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expresslr ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnmina monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
